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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


KARLTON A. MAYDWELL,               §
  Plaintiff                        §
                                   §
                                   §                                CIVIL ACTION NO. 3:19-cv-00051-S
vs.                                §
                                   §
                                   §
CIARA FINANCIAL SERVICES, INC. dba §
CLAY COOLEY AUTO GROUP             §
  Defendant                        §
                                   §


                DEFENDANT CIARA FINANCIAL SERVICES, INC.’S FIRST ORIGINAL ANSWER,
                           AFFIRMATIVE DEFENSES AND COUNTERCLAIM


TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

Comes now Ciara Financial Services, Inc. [“Ciara], improperly named in Plaintiff’s

Complaint as ”Ciara Financial Services Inc. d/b/a Clay Cooley Auto Group,” and in

response to Plaintiff’s Complaint [“Complaint”], files this, Defendant Ciara Financial

Services, Inc.’s First Original Answer, Affirmative Defenses And Counterclaim.

Defendant Ciara would show the Court as follows:

                                           NATURE OF THE ACTION

1.     Ciara admits that Plaintiff brings an action for damages. Ciara denies that the

       action is properly brought pursuant to the Telephone Consumer Protection Act, or

       the Texas Debt Collection Act or the Texas Finance Code. Ciara denies that

       Defendant’s conduct was unlawful.


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                                               JURISDICTION AND VENUE

2.     Ciara denies that legal authority exists for assertion of Plaintiff’s cause or cause of

       action pursuant to the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.

       §227 et seq.         Ciara denies that subject matter jurisdiction exists in this Court for

       claims asserted pursuant to the TCPA. Because subject matter jurisdiction cannot

       be invoked under the TCPA, Ciara denies that 28 U.S.C. §§1331 and 1337 can be

       invoked as a basis for jurisdiction. Ciara denies that Plaintiff’s action arises under

       the laws of the United States. Ciara denies that supplemental jurisdiction exists for

       Plaintiff’s state law claim.



3.     Ciara admits that it conducts business in the Northern District of Texas and that

       events or omissions which form the factual basis of Plaintiff’s claims relate to

       conduct which occurred in the Northern District of Texas. However, Ciara denies

       that venue is proper in this Court because the Court lacks subject matter

       jurisdiction.


                                                          PARTIES

4.     Ciara admits that Plaintiff is over the age of 18 years. Ciara lacks knowledge or

       information sufficient to form a belief about                whether Plaintiff   qualifies as a

       “consumer” as alleged in Paragraph 4, and therefore must deny such allegation.

       Ciara admits that Dallas County, Texas is located within the Northern District of

       Texas.


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5.     Ciara admits the truth of the allegations in Paragraph 5 of the Complaint.

6.     Ciara admits the truth of the allegations in Paragraph 6 of the Complaint.

7.     Ciara admits the truth of the allegations in Paragraph 7 of the Complaint.

8.     Ciara admits that it acted through its agents, employees, officers, members and

       directors. To the extent that that remaining allegations of Paragraph 8 allege that

       Ciara acted through any other persons or entities, the allegations are vague and

       non-specific, and Ciara lacks knowledge or information to form a belief about the

       truth of such remaining allegations, and must therefore deny same at this time.



                                   FACTS SUPPORTING CAUSES OF ACTION

9.     Ciara denies that Plaintiff originally financed the purchase of his motor vehicle

       through Ciara. Ciara admits through a process of assignment and transfer, Ciara

       later became the financier of the Plaintiff’s motor vehicle. To the extent that the

       allegations of Paragraph 9 imply, suggest, or alleges any factual matter beyond the

       foregoing admissions, Ciara denies such allegations.



10. Ciara lacks knowledge or information sufficient to form a belief about whether

       Plaintiff experienced financial hardship, and therefore must deny such allegation.

       Ciara admits that Plaintiff fell behind on his scheduled payments. Ciara admits

       that payments were owed to Ciara. Ciara admits that Plaintiff incurred a debt for

       the finance of his motor vehicle. To the extent that the allegations of Paragraph 10



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      imply, suggest, or alleges any factual matter beyond the foregoing admissions,

      Ciara denies such allegations.



11. Ciara admits that it made lawful calls to Plaintiff for the purpose of seeking to

      collect an outstanding and unpaid debt which was owed by Plaintiff. Because

      Plaintiff’s allegations about a specific phone number are incomplete, Ciara lacks

      knowledge or information sufficient to form a belief about whether such allegations

      are true or correct and therefore must deny same.                To the extent that the

      allegations of Paragraph 11 imply, suggest, or alleges any factual matter beyond

      the foregoing admissions, Ciara denies such allegations.


12. Ciara lacks knowledge or information sufficient to form a belief about whether the

      allegations of Paragraph 12 are true or correct and therefore must deny same.


13. Ciara admits that it uses the phone number (972) 573-6481 and other phone

      numbers.        Ciara lacks knowledge about whether Plaintiff’s phone is a cellular

      phone.       Ciara therefore must deny such allegations.         To the extent that the

      allegations of Paragraph 13 imply, suggest, or alleges any factual matter beyond

      the foregoing admissions, Ciara denies such allegations.

14. Ciara admits that it regularly uses the phone number (972) 573-6481.

15. Ciara admits that it uses prerecorded messages in telephone calls to seek debt

      collection, Ciara lacks knowledge or information sufficient to form a belief about

      whether the remaining              allegations of Paragraph 15   are true or correct and

      therefore must deny same.

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16. Ciara lacks knowledge or information sufficient to form a belief about whether the

      allegations of Paragraph 16 are true or correct and therefore must deny same.

17. Ciara admits that it informs debtors, including Plaintiff in this action, that Ciara is

      engaged in the business of attempting to collect on a debt.

18. Ciara admits that on more than one occasion Plaintiff promised to pay specific

      amounts at specific times, although Plaintiff later failed to follow through with such

      promises.        Ciara admits that on more than one occasion Plaintiff made oral

      demands that calls to his phone should cease, although Plaintiff failed to follow

      procedures for submission of a written demand. To the extent that the allegations

      of Paragraph 18 imply, suggest, or allege any factual matter beyond the foregoing

      admissions, Ciara denies such allegations.

19. Ciara admits that on more than one occasion Plaintiff made oral demands that

      calls to his phone should cease, although Plaintiff failed to follow procedures for

      submission of a written demand. To the extent that the allegations of Paragraph

      19 imply, suggest, or allege any factual matter beyond the foregoing admissions,

      Ciara denies such allegations.

20. Ciara denies the truth of the allegations set forth in Paragraph 20.

21. Ciara admits the truth of the allegations set forth in Paragraph 21.

22. Ciara admits that on more than one occasion Plaintiff made oral demands that

      calls to his phone should cease, although Plaintiff failed to follow procedures for

      submission of a written demand. To the extent that the allegations of Paragraph

      19 imply, suggest, or allege any factual matter beyond the foregoing admissions,

      Ciara denies such allegations.

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23. Ciara lacks knowledge or information sufficient to form a belief about whether the

      allegations of Paragraph 23 are true or correct and therefore must deny same.

24. Ciara denies the truth of the allegations set forth in Paragraph 24.

25. Ciara lacks knowledge or information sufficient to form a belief about whether the

      allegations of Paragraph 25 are true or correct and therefore must deny same.



               COUNT I—VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

26. Paragraph 26 of the Complaint does not include factual allegations which must be

      admitted or denied.

27. Ciara denies that the TCPA, 47 USC § 227 et seq, prohibits creditors and their

      loan servicers from making telephone calls to individuals on cellular telephones for

      the purpose of making attempts to collect debts. To the extent that Paragraph 27

      states or alleges any such statement as a purported matter of fact, same is denied.

      Ciara denies that Paragraph 27 is a correct factual statement of law. To the extent

      that the allegations of Paragraph 27 imply, suggest, or alleges any factual matter

      beyond the foregoing that is outside the foregoing denial, Ciara denies such

      allegations as well.



28. Ciara admits that it uses pre-recorded messages in connection with its telephone

      messages to debtors, including Plaintiff. Ciara admits that it uses equipment which

      has the capacity to store or produce telephone numbers to be called.           To the

      extent that the allegations of Paragraph 28 imply, suggest, or alleges any factual



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      matter beyond the foregoing that is outside the foregoing denial, Ciara denies

      allegations as well.

    29. Ciara denies that it violated the TCPA. Ciara denies that the use of multiple

          calls with the use of computerized equipment is a violation of the TCPA, when

          the calls are for the purpose of attempted debt collection. Ciara admits that it

          may make multiple calls to collect debt. Ciara admits that the number of calls

          made to Plaintiff over time may exceed 150. To the extent that the allegations

          of Paragraph 29 imply, suggest, or alleges any factual matter beyond the

          foregoing that is outside the foregoing admissions or denials, Ciara denies

          such allegations as well.

    30. Ciara admits that the calls which it placed to Plaintiff were for the purpose of

          debt collection. Ciara admits that there was no emergency associated with its

          calls. To the extent that the allegations of Paragraph 30 imply, suggest, or

          alleges any factual matter that is outside the foregoing admissions or denials,

          Ciara denies allegations as well.

    31. Ciara denies that it is liable to Plaintiff for any monetary amount under the

          TCPA. To the extent that the allegations of Paragraph 31 imply, suggest, or

          alleges any factual matter that is outside the foregoing denial, Ciara denies

          such allegations as well.               The prayer which follows Paragraph 31 in the

          Complaint does not contain factual allegations which must be admitted or

          denied.

                            COUNT II—VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT



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    32. Paragraph 32 of the Complaint does not include factual allegations which must

          be admitted or denied

    33. Ciara lacks knowledge or information sufficient to form a belief about whether

          Plaintiff qualifies as a “consumer” under the Texas Finance Code, and therefore

          must deny the allegations of Paragraph 33.

    34. Ciara admits that Ciara is a debt collector.

    35. Ciara lacks knowledge or information sufficient to form a belief about whether

          Plaintiff’s debt qualifies as a “consumer debt” under the Texas Finance Code,

          and therefore must deny the allegations of Paragraph 35.

    36. Paragraph 36 of the Complaint is a quotation of statutory state law and does

          not include factual allegations which must be admitted or denied.

    37. Ciara denies that it violated the TDCA.                     To the extent that the allegations of

          Paragraph 37 imply, suggest, or alleges any factual matter in addition to the

          foregoing denial, Ciara denies such allegations.

    38. Ciara denies that it had any factual reason or notice that it should not call

          Plaintiff to attempt to collect a debt that was owed.                  To the extent that the

          allegations of Paragraph 8 imply, suggest, or alleges any factual matter beyond

          the foregoing admissions, Ciara denies such allegations.

    39. Paragraph 39 of the Complaint is a quotation of statutory state law and does

          not include factual allegations which must be admitted or denied

    40. Ciara denies that it violated the TDCA.                     To the extent that the allegations of

          Paragraph 40 imply, suggest, or alleges any factual matter in addition to the

          foregoing denial, Ciara denies such allegations.

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                                                      FIRST DEFENSE

 Plaintiff fails to state a claim upon which relief can be granted.

                                                    SECOND DEFENSE

The claims which Plaintiff states or attempts to state do not fall within the subject matter

jurisdiction of this Honorable Court.

                                                     THIRD DEFENSE

 Plaintiff fails to state a claim upon which relief can be granted with respect to the

 allegations of Count 1 of Plaintiff’s Complaint.



                                                    FOURTH DEFENSE

 Plaintiff has suffered no damages as a result of any acts or omissions of Ciara.



                                                     FIFTH DEFENSE

 Ciara states that it received prior express consent to contact Plaintiff on his cell phone.



                                                     SIXTH DEFENSE

 Ciara would show that its actions are exempted from the provisions of the Telephone

 Consumer Protection Act, pursuant to the provisions of 47 USC § 277 (b)(1)(B).



                                                   SEVENTH DEFENSE



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 Ciara would show that an award of statutory damages in the absence of actual

 damages would be a denial of Ciara’s right to due process under the Constitution of the

 United States of America.

                                                     EIGHTH DEFENSE

 Any     damage suffered by Plaintiff, which Ciara denies, was due to the affirmative

 actions and/or omissions of Plaintiff or others, and does not give rise to any claim of

 damages against Ciara.

                                                     NINTH DEFENSE

Ciara’s actions were not willful or knowing, to the extent they violated applicable law,

which Ciara denies.

                                                     TENTH DEFENSE

Ciara affirmatively asserts that Plaintiff is not entitled to the relief sought due to the

doctrines of waiver, estoppel, laches and unclean hands.


                                                  ELEVENTH DEFENSE

Ciara affirmatively asserts that it is entitled to recovery its reasonable and necessary

attorney’s fees incurred in the defense of Plaintiff’s claims.



                    FIRST ORIGINAL COUNTERCLAIM OF CIARA FINANCIAL SERVICES, INC.

                                         PARTIES, VENUE AND JURISDICTION

    41. Counter Plaintiff is Ciara Financial Services, Inc., [“Ciara”] which is the owner of

          the claims asserted herein. Ciara has appeared.

    42. Counter Defendant is Karlton Maydwell [“Maydwell”], who has appeared as well.


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    43. Jurisdiction is proper in this court pursuant to 28 U.S.C. § 1367.

    44. Venue is proper in the Northern District of Texas, Dallas County Division

          because the claims of Maydwell have been asserted in said district and division.

          Additionally, venue is proper because Counter-Defendant Maydwell is

          domiciliary of Dallas County, Texas.



                                        STATEMENT OF THE COUNTERCLAIM

    45. This First Original Counter Claim presents a claim for unpaid debt, breach of

          contract, quantum meruit, and actual and consequential damages, all arising

          from Karlton Maydwell’s failure to perform obligations of payment as set forth in

          his Motor Vehicle Retail Installment Sales Contract for the purchase of a 2010

          Chrysler Sebring motor vehicle from Clay Cooley Enterprises, Inc dba Clay

          Cooley Motor Company, on or about June 16, 2014 in Dallas County, Texas.

          Ciara Financial Services, as Counter-Plaintiff, would show this Honorable Court

          as follows in support of its claim against Counter-Defendant Karlton Maydwell.

    46. On or about June 16, 2014, Karlton Maydwell purchased the above-described

          motor vehicle, which Maydwell’s counsel frequently refers to as the “subject

          automobile,” from          an automobile dealership located in Dallas, County, Texas

          and known as Clay Cooley Enterprises, Inc. dba Clay Cooley Motor Company.

    47. As of the purchase date, the original entity serving as lender was Clay Cooley

          Enterprises, Inc. dba Clay Cooley Motor Company. On or about December 24,

          2016, the loan was assigned and/or transferred to Chase Financial Services,

          Inc., which later became known as Ciara Financial Services. Consequently,

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          while Ciara Financial Services was not the original lender of purchase money

          funds for the finance of Maydwell’s motor vehicle, through the process of

          assignment or loan transfer, Ciara became the lender as of December 24, 2016.

    48. Maydwell became obligated pursuant to the terms of his Motor Vehicle Retail

          Installment Sales Contract to make 47 monthly payments of $480.00 and one

          final payment of $441.23 on an original loan with a financed amount of

          $15,615.30. Maydwell made sporadic and frequently late monthly payments,

          up until and through his last submitted payment which was received on July 31,

          2017. Thereafter, Maydwell’s loan went into default, and it became necessary

          for Ciara Financial Services, Inc. to initiate debt collection efforts.

    49. Ciara initiated debt collection efforts, first in an attempt to recoup outstanding

          and overdue monthly payments, and later in an attempt to recover the motor

          vehicle which secured the loan by means of a title lien.               Ciara was given

          permission and consent to contact a telephone number, which is partially

          identified by Plaintiff as “682-XXX-4331.”                The telephone number was not

          identified in any specific way, and no indication was provided by Maydwell that

          the number was associated with a cellular telephone. Likewise, no indication

          was given by Maydwell when the number was provided that Ciara should be

          allowed to call the number to discuss matters regarding Maydwell’s loan.

    50. Over the next several ensuing months, Ciara made regular routine debt

          collection efforts by telephone, including calls from Ciara to the number partially

          identified by Plaintiff as “682--XXX-4331.”               Ciara employs industry custom

          standards of debt collection by telephone, including the use of automated

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          redialers, because such equipment and technology is specifically permitted by

          current regulations of the Federal Communications Commission, all as

          authorized by 14 USC § 277 et seq.                        Ciara’s conduct was both lawful and

          according to industry standards, because all calls made by Ciara to Maydwell

          were made for the specific commercial purpose of seeking to recover an unpaid

          debt.

    51. Maydwell engaged in discourteous and impolite conduct. He frequently swore

          when speaking to live debt counselors. He shouted; he raised his voice; he

          threatened to hide the motor vehicle where no one could find it. Maydwell’s

          motor vehicle was altered during the period of debt collection efforts, to the

          extent that the GPS device no longer functioned, and the vehicle could not be

          traced with GPS technology. At one point Maydwell pretended to work as a skip

          tracer, which is an occupation which seeks to identify vehicles subject to

          overdue loans by various means. Maydwell attempted to collect a finder’s fee

          by offering to provide information about where his vehicle was located.

    52. Eventually, the vehicle was located. Maydwell removed all of the vehicle’s tires

          and wheels, parked it on bare wheel hubs in his driveway, and told Ciara to

          come and get it.

    53. At the time Maydwell’s motor vehicle was recovered, it had been substantially

          damaged, including total loss of the engine, which had been allowed to run short

          of oil. The vehicle was sold at auction.

    54. Exhibit B attached to this First Original Counter Claim is a true and correct copy

          of the Motor Vehicle Retail Installment Sales Contract.

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    55. Exhibit C attached to this First Original Counter Claim is a true and correct copy

          of the IDMS Transactions for Account #174458 Maydwell, Karlton. Exhibit C

          sets fort a statement of each unpaid monthly loan amount, followed by a true

          and correct calculation of all service fees associated with late or missing

          payments, or other contractual amounts due and owing by reason of non-

          performance of Maydwell pursuant to the terms of his Motor Vehicle Retail

          Installment Sales Contract, or according to extended arrangements otherwise

          made as a part of the debt collection process.

    56. Exhibit D attached to this First Original Counter Claim is a true and correct copy

          of the a summary of additional consequential damages associated with efforts to

          recover the motor vehicle from Karlton Maydwell, in addition to a photocopy of a

          check for sale of the motor vehicle at auction.             The information provided in

          Exhibit D has been used to calculate Counter-Plaintiff’s claim for consequential

          damages, and to acknowledge a credit for the proceeds of sale at auction.

    57. As of the date of the filing of this First Original Counterclaim, the total

          outstanding indebtedness which is due and owing by Maydwell on account of

          his failure to make payments when due pursuant to his Motor Vehicle Retail

          Installment Sales Contract                   is $12,938.58, which includes all unpaid

          indebtedness in addition to damages for expenses associated with collection of

          the unpaid debt and recovery of the motor vehicle as collateral.

    58. All of such actual and consequential damages were caused in fact, or

          alternatively proximately caused by the conduct of Maydwell. All of Maydwell’s


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          conduct in failing to make payments, hiding the motor vehicle, and causing

          damage to the vehicle were breaches of contract pursuant to the terms of the

          Motor Vehicle Retail Installment Sales Contract.

    59. In its capacity as assignee and current authorized lender with respect to the loan

          to Maydwell, Ciara is entitled to recover actual and consequential damages as

          above alleged.

    60. By this First Original Counterclaim, Ciara gives notice pursuant to Chapter 38 of

          the Texas Civil Practice and Remedies Code of its claim for recovery of

          reasonable and necessary attorney’s fees incurred with respect to its assertion

          of this claim for recovery pursuant to the Motor Vehicle Retail Installment Sales

          Contract.



                           COUNTERCLAIM COUNT 1: BREACH OF THE
                      MOTOR VEHICLE RETAIL INSTALLMENT SALES CONTRACT

    61. The foregoing allegations of this First Original Answer, Affirmative Defenses,

          and Counterclaim            are incorporated by reference. This cause of action is

          asserted against Counter-Defendant Karlton Maydwell.            Count 1 presents a

          claim for breach of a written Motor Vehicle Retail Installment Sales Contract,

          Exhibit B.

    62. Ciara would show that it is entitled to recover damages for breach of such

          written contract, a true and correct copy of which is attached hereto as Exhibit B

          and incorporated herein by reference as if fully set forth verbatim.




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    63. On or about June 16, 2014, Maydwell entered into a valid and enforceable

          “Motor Vehicle Retail Installment Sales Contract and Security Agreement”

          [hereafter, the “Contract”]. Pursuant to the terms of the Contract, in exchange

          for the receipt and delivery of a motor vehicle identified as a 2010 Chrysler

          Sebring, Maydwell promised to pay the sum of $ 15,615.30 with interest at the

          rate of 20.38 % per annum, in 47 monthly payments of $480.00 and 1 final

          payment of $441.23, beginning on or about July 20, 2014 and continuing for 48

          months, with the last scheduled payment date being June 20, 2018.

    64. Clay Cooley Enterprises, Inc. dba Clay Cooley Motor Company assigned the

          Contract to Chase Financial Services, Inc. on or about December 31, 2014.

          Chase Financial Services, Inc. perfected a legal name change through filings

          with the Texas Secretary of State to become known as Ciara Financial Services,

          Inc., [“Ciara”] effective July 1, 2015. Ciara is and was at all times germane to

          the claims asserted herein, the owner of the Contract and claims arising out of it.


                         COUNTERCLAIM COUNT 2: SUIT ON SWORN ACCOUNT

    65. The foregoing allegations of this First Original Answer, Affirmative Defenses,

          and Counterclaim            are incorporated by reference. This cause of action is

          asserted against Counter-Defendant Karlton Maydwell.            Count 2 presents a

          claim for suit upon a sworn account.

    66. Pleading further, and in the alternative, Ciara would show that it is entitled to

          recover damages under an action for suit on a sworn account.                   The

          predecessors in interest of Ciara provided goods to Maydwell on an account.


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          Maydwell accepted those goods and therefore became bound to pay Ciara its

          designated charges, which were reasonable, usual and customary for such

          goods and in accordance with the Contract. The sworn account represents a

          record of the transaction that is like or similar to records which Ciara usually

          and customarily keeps in the regular and ordinary course of its business.

    67. After the goods were delivered to Maydwell as evidenced by Exhibit A, the

          Motor Vehicle Retail Installment Sales Contract, Maydwell immediately fell into

          a pattern of making late payments. Maydwell’s very first payment, which was

          due on July 20, 2014, was received four days late, on July 24, 2014. Numerous

          other monthly payments were late as well. Maydwell finally went into complete

          default and ceased submitting payments. The dates and amounts of Maydwell’s

          payments are fully accounted for and credited to the account as reflected in

          Exhibit A, the Affidavit of Ciara’s COO Ed Hicks, Jr., and Exhibit C, the IDMS

          Transactions for Account #174458 Maydwell, Karlton. Each of Exhibits A, B, C

          and D are attached hereto and incorporated herein by reference as if fully set

          forth verbatim.

    68. The claim asserted in this Count 3 is just and true, and all just and lawful offsets,

          payments and credits have been allowed, as demonstrated by Exhibits B and C.

    69. The total amount due on the account for unpaid loan amounts, including

          principal, interest, late fees and other amounts as of April 22, 2019 is

          $14,238.58. This does not include consequential damages claims or a credit

          due for sale at auction.



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    70. Ciara incurred consequential damages on account of Maydwell’s conduct in

          hiding the location of the vehicle, refusing to allow repossession, and removing

          the tires and wheels from the vehicle. Ciara recognized and declared a credit

          due for sale of the motor vehicle at auction. The calculation of consequential

          damages and credit due is as follows:



               $14,238.58         Loan Charge Off (See Exhibit C, Line Item at 10/26/2018)
                   500.00         Replacement Tires and Wheels
                   175.00         Tow Charge to Auction Site
                14,913.58         Total
                -1,975.00         Sale at Auction
             $12,938.58           Total Net Damages


    71. Exhibit D attached hereto is a collection of receipts and other documents which

          support the calculation of consequential damages and credit as set forth above

          in Paragraph 70.

    72. Ciara seeks liquidated damages in the amount of at least $12,938.58.

          Additionally, Ciara seeks recovery of pre-judgment and post-judgment interest

          as well as its costs of court and reasonable and necessary attorneys’ fees

          pursuant to Texas Civil Practice & Remedies Code § 38.0001(7) and the terms

          of the Contract.


                              COUNTERCLAIM COUNT 3: QUANTUM MERUIT

    73. The foregoing allegations of this First Original Answer, Affirmative Defenses,

          and Counterclaim            are incorporated by reference. This cause of action is



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          asserted against Counter-Defendant Karlton Maydwell.            Count 3 presents a

          claim for quantum meruit.

    74. Pleading further and in the alternative, Ciara would show that it is entitled to

          recover damages under an action for quantum meruit. The predecessors of

          Ciara provided Maydwell with goods. The predecessors in interest of Ciara

          provided these goods for the use and benefit of Maydwell. Ciara was assigned

          the Contract made by Maydwell and is entitled to receive all payments due

          pursuant to the Contact.

    75. When Maydwell went into default, Ciara communicated with Maydwell lawfully

          for the specific purpose of seeking to collect amounts which were due and

          owing.     In this manner, Ciara put Maydwell on reasonable notice that Ciara

          expected compensation for the goods provided, all pursuant to terms of the

          Contract. Maydwell has refused to pay for such goods.             Ciara attaches an

          affidavit verifying these facts as Exhibit A and incorporates such affidavit herein

          by reference as if fully set forth verbatim.

    76. As a result of Maydwell’s failure to pay, Ciara is entitled to recover the

          reasonable value of the goods provided to Maydwell, including interest accrued

          as a result of Maydwell’s non-payment. Maydwell also seeks recovery of pre-

          judgment and post-judgment interest under its claims for quantum meruit, as

          well as its costs of court and reasonable attorney’s fees.


                                               ATTORNEY’S FEES




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    77. Ciara seeks attorney’s fees pursuant to each count set forth in Ciara’s

          Counterclaim. As a result of Maydwell’s failure to pay under the terms of the

          Contract, Ciara has retained the undersigned attorneys to prosecute this

          Counterclaims, including all counts asserted therein.            Maydwell has caused

          Ciara to incur to date and will continue to cause Ciara to incur in the future,

          costs associated with the prosecution of this litigation, including attorney’s fees.

          The Contract provides, and Maydwell agreed:

               “COLLECTION COSTS:                   If you hire an attorney who is not your
               employee to enforce this contract, I will pay reasonable attorney’s
               fees and court costs as the applicable law allows.”
          See Exhibit B at Page 4. Therefore, Ciara seeks payment of reasonable and

          necessary attorney’s fees as allowed under the Contract and Tex. Civ. Prac.

          And Rem. Code §38.001 et seq.

    78. All conditions precedent have been performed or have occurred as required by

          Tex. R. Civ. P. 54.

WHEREFORE, Ciara prays for orders and judgment of this Court in its favor and

against Plaintiff as follows:

                  1. Dismissing all causes of action of Plaintiff against Ciara with prejudice

                     and on the merits; and,

                  2. Granting judgment in favor of Ciara on each Count asserted in Ciara’s

                     Counterclaim, including Ciara’s claim for breach of the Motor Vehicle

                     Retail Installment Sales Contract, for damages and loss sustained on

                     an open account, for damages and loss sustained on a sworn account,

                     and for damages sustained based upon quantum meruit. Ciara’s claims
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                     under each Count include all actual and consequential damages and

                     attorneys’ fees as allowed by law;

                  3. For prejudgment and post judgment interest as allowed by law; and

                  4. Awarding Ciara such other and further relief as the Court deems just

                     and equitable.



                                                       Respectfully submitted,

                                                       DOWNS ♦ STANFORD, P.C.

                                                      /s/ Lynn Fielder

                                                      By: ___________________
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                                                      /s/ Rodney M. Patterson

                                                      By: ___________________
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                                                      Attorneys for Defendant Ciara Financial
                                                      Services, Inc. (incorrectly named as Ciara
                                                      Financial Services, Inc. dba Cooley Auto
                                                      Group)


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                                       CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing instrument has been
served upon all counsel of record as indicated on this the 18th day of April 2019 by
electronic service.

                                                      /s/ Rodney M. Patterson

                                                      By: ___________________




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